
PER CURIAM.
In this Anders appeal, we affirm the judgment and sentence but remand for correction of a scrivener’s error. The record indicates that the state charged the appellant with three counts of aggravated assault. However, as part of the plea agreement the state agreed to nolle prosse one of the aggravated assault charges. The judgment reflects that the appellant was convicted of all three aggravated assault charges. This appears to be a scrivener’s error.
We therefore remand the judgment for the trial court to enter an amended judgment striking the third aggravated assault charge.
AFFIRMED, but REMANDED with instructions to correct the scrivener’s error.
LEWIS, C.J., WETHERELL and ROWE, JJ., concur.
